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             IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
                                          )
                                          )
ADDICTION & DETOXIFICATION                )
INSTITUTE, LLC, a New Jersey Limited )
Liability Corporation                     )
                                          )   Civil Action No. 1:14-CV-05336
                      Plaintiff,          )
v.                                        )
                                          )   Judge Gary Feinerman
KINDRED HEALTHCARE, INC.,                 )
a Delaware Corporation and KINDRED        )
HOSPITALS LIMITED PARTNERSHIP, )
A Kentucky1 Limited Liability Partnership )
                                          )
                      Defendants.         )
                                          )
                                          )
                                          )


                           JOINT STIPULATION FOR
                  DISMISSAL WITHOUT PREJUDICE, IN VIEW OF
                          SETTLEMENT AGREEMENT


        The parties have reached settlement. Pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(ii), all parties respectfully request that this Court Order dismissal of the
above-titled case without prejudice, with all parties to bear their own fees, costs, and
other expenses in this litigation.


                             /signatures to follow on the next page/




1
 Kindred Hospitals Limited Partnership is a Delaware Limited Partnership and not a Kentucky Limited
Liability Partnership, as stated in the First Amended Complaint.
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